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                               IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF VIRGINIA
                                    CHARLOTTESVILLE DIVISION

                               CRIMINAL MINUTES - GENERAL MINUTES

 Case No.: 3:23cr00011                         Date: 9/6/2023


 Defendant: Scott Howard Jenkins, bond                           Counsel: not present


 PRESENT:          JUDGE:                     Joel C. Hoppe, USMJ TIME IN COURT: 2:31-2:36=5 minutes
                   Deputy Clerk:              Karen Dotson
                   Court Reporter:            Karen Dotson, FTR
                   U. S. Attorney:            Melanie Smith & Cagle Juhan
                   USPO:                      not present
                   Case Agent:                not present
                   Interpreter:               n/a


 PROCEEDINGS:
 All parties present in person
 Dft states he has talked to a couple of attorneys and that attorney is working on getting his notice of appearance
 entered
 Dft requests another status conference be set within a week
 Gov't asks for dft to complete a financial affidavit and possibly be appointed an attorney
 Court takes motion under advisement
 Attorney status conference set for 9/13/23 at 10:00 am
 Dft to continue on bond
